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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA )
                         )
     v.                  )                   Cr. No. 09-10166-MLW
                         )
SALVATORE F. DIMASI and )
RICHARD W. MCDONOUGH,    )
     Defendants.         )


                        MEMORANDUM AND ORDER

WOLF, D.J.                                              August 30, 2011

I.   SUMMARY

     In this case defendants Salvatore DiMasi, the former Speaker

of the Massachusetts House of Representatives, Richard McDonough,

Richard Vitale and Joseph Lally were charged with conspiracy to

commit three crimes: honest services mail fraud; honest services

wire fraud; and extortion under color of official right. See Count

1 and 18 U.S.C. §§371, 1341, 1343, 1346, 1951. The four defendants

were each also charged with three counts of honest services mail

fraud, see Counts 2, 3, and 4, and four counts of honest services

wire fraud, see Counts 5, 6, 7 and 8.         In addition, DiMasi was

charged with extortion under color of official right. See Count 9.

The essence of all of the charges was that Lally conspired with his

codefendants and caused his employer, Cognos Corporation, and later

his company, Montvale Solutions, to make payments in exchange for

official acts by DiMasi as Speaker to benefit Cognos.             It was

alleged that payments for this corrupt purpose were made to DiMasi

personally, in the form of purported referral fees, through his
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unwitting associate in the practice of law, Stephen Topazio, and to

Vitale and McDonough.

     Lally pled guilty and agreed to cooperate with the government.

As a result, Lally was called by the government and testified at

trial. Topazio was also called by the government and testified.

     After     a   six-week   trial,   DiMasi    and   McDonough    were   each

convicted of conspiracy, two counts of mail fraud, and three counts

of wire fraud.       In addition, DiMasi was convicted of extortion.

DiMasi and McDonough were each found not guilty of one count of

mail fraud and one count of wire fraud.                Vitale was found not

guilty of all of the charges against him.

     DiMasi and McDonough have each filed motions for a judgment of

acquittal pursuant to Federal Rule of Criminal Procedure 29 or,

alternatively, for a new trial pursuant to Federal Rule of Criminal

Procedure 33.      DiMasi and McDonough argue, in essence, that: the

court    erroneously    admitted    certain     evidence   against    them   as

coconspirator       statements     under   Federal      Rule   of     Evidence

801(d)(2)(E); the court's rulings on some other evidentiary issues

and its jury instructions were incorrect in material respects; and

the evidence was insufficient to prove them guilty beyond a

reasonable doubt of any or all of the charges.                      DiMasi and

McDonough have each filed several lengthy memoranda in support of

their contentions.      The government has opposed defendants' motions

in its own series of substantial submissions.


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        The defendants' assertions concerning the court's evidentiary

rulings and jury instructions essentially reiterate arguments that

were made, carefully considered, and decided by the court before

and/or    during     trial.        The   reasons    for    those   decisions      have

previously been explained in detail on the record and, in some

instances, summarized in various orders.                     Defendants have not

persuaded     the    court    that    any   of    its    evidentiary   rulings     or

instructions were erroneous.

        In addition, essentially for the reasons explained fully by

the     government     in    its     submissions     and    summarized      in    this

Memorandum,     when    viewed      in   the     light   most   favorable    to   the

verdicts, there was ample evidence for the jury to find beyond a

reasonable doubt that DiMasi and McDonough were guilty of all of

the charges on which they were convicted.                  Therefore, the Rule 29

motions for acquittal are not meritorious.

        In contrast to an analysis under Rule 29, in deciding a Rule

33 motion for a new trial, the court may weigh the evidence,

evaluate the credibility of the witnesses, and order a new trial if

the evidence predominates heavily against the verdicts and allowing

them to stand would result in a miscarriage of justice. In essence,

Rule 33 provides a means to rectify only a result that the court,

on reflection, regards as seriously erroneous.                  This is not such a

case.    At the conclusion of all of the evidence presented at trial

the court found that the government had proven by a preponderance


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of the credible evidence that DiMasi, McDonough, Lally, and Vitale

were each members of the conspiracy charged in Count 1 of the

indictment and, therefore, that all of the statements conditionally

admitted during trial were admissible against them under Rule

801(d)(2)(E). See United States v. Petrozziello, 548 F.2d 20 (1st

Cir. 1977) (the "Petrozziello rulings"). The court reached this

conclusion because it was, and remains, persuaded that, beginning

no   later        than   December,   2004,    DiMasi,    McDonough,   and   Lally

conspired to have payments made to DiMasi in exchange for DiMasi

performing official acts as Speaker to benefit Cognos when DiMasi

was asked to do so or when the opportunity arose. Later that

conspiracy evolved to include payments to Vitale and McDonough,

with the payments to Vitale being for DiMasi's benefit.               The court

also       was,    and   remains,    persuaded,   that    Vitale   joined    that

conspiracy in about May, 2006.1               Therefore, the court concludes

that the jury's verdicts of guilty were reasonable, and it is not


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      It is again necessary for the court to express its view of
whether Vitale was a member of the alleged conspiracy. The court
does not intend any disrespect for the jury's finding that he had
not been proven guilty. Rather, the court was, for the purpose
of making its required Petrozziello rulings at trial, obligated
to make an independent decision concerning whether Vitale had
been proven to be a member of the alleged conspiracy by a
preponderance of the evidence. The difference in the decisions
of the court and the jury on this issue may be attributable to
the fact that the burden of proof is higher to convict than to
admit evidence. In any event, the Rule 33 motions have required
the court to consider its Petrozziello ruling further and to
state now that the court again finds that the credible evidence
proved Vitale was also a member of the conspiracy of which DiMasi
and McDonough were convicted.

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permissible or appropriate to grant defendants' request for a new

trial.

      In   essence,   despite   the   energetic   efforts   of   able   and

imaginative defense counsel, the government proved to the jury, and

the court, that DiMasi and McDonough participated in a classic

scheme to sell DiMasi's official powers as Speaker to Cognos and to

structure that exchange in a way intended to keep their corrupt

conduct from being detected and demonstrated.            That scheme has

failed.

      Therefore, DiMasi's and McDonough's motions for acquittal or

a new trial are not being allowed. Instead, they will be sentenced

on September 8, 2011, as previously ordered.



II.   THE RULE 29 MOTIONS FOR ACQUITTAL

      A.    The Legal Standard

      Rule 29(c)(2) provides that, "[i]f the jury has returned a

guilty verdict, the court may set aside the verdict and enter an

acquittal."   The court must "'scrutinize the evidence in the light

most compatible with the verdict, resolve all credibility disputes

in the verdict's favor, and then reach a judgment about whether a

rational jury could find guilt beyond a reasonable doubt.'" United

States v. Merlino, 592 F.3d 22, 29 (1st Cir. 2010) (quoting United

States v. Olbres, 61 F.3d 967, 970 (1st Cir. 1995)).             In making

this sufficiency inquiry, the court must consider the direct and


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circumstantial evidence, as well as all plausible inferences drawn

from it.   See United States v. Rivera Calderon, 578 F.3d 78, 88

(1st Cir. 2009).    This includes all of the evidence submitted to

the jury regardless of whether it was properly admitted. See United

States v. Diaz, 300 F.3d 66, 77 (1st Cir. 2002).

     In deciding a Rule 29 motion, the court may not "weigh the

evidence or make any credibility judgments."       Merlino, 592 F.3d at

29; see United States v. Ayala-Garcia, 574 F.3d 5, 11 (1st Cir.

2009). Rather, credibility issues must be resolved in favor of the

verdict. See Rivera Calderon, 578 F.3d at 88 (quoting United States

v. Perez-Ruiz, 353 F.3d 1, 7 (1st Cir. 2003)).

     The court must decide if the evidence is sufficient to permit

a rational jury to find each essential element to have been proven

beyond a reasonable doubt.     Olbres, 61 F.3d at 970.      However, the

government does not have to rule out every hypothesis "'congenial

to a finding of innocence.'"     United States v. Valle, 72 F.3d 210,

216 (1st Cir. 1995) (quoting United States v. Gifford, 17 F.3d 462,

467 (1st Cir. 1994)).

     Moreover, the government is not bound by all of the evidence

that it presents. However, if the government introduces evidence

contrary to the inferences it wants the jury to draw, it must

introduce other direct or circumstantial evidence to relieve itself

of the effect flowing from the evidence introduced. See Rodgers v.

United States, 402 F.2d 830, 833-35 (9th Cir. 1968); United States


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v. Canessa, 534 F.2d 402, 404 n.* (1st Cir. 1976)(distinguishing

Rodgers).

     The acquittal of one defendant on a particular charge is not

relevant to the analysis of whether there was sufficient evidence

to prove another defendant guilty of any charge, including the same

charge,   even   if   the   acquittal       and   the   finding   of   guilt   are

logically inconsistent. See United States v. Powell, 469 U.S. 57,

68 (1984); United States v. Rogers, 121 F.3d 12, 16 (1st Cir.

1997); United States v. Bucuvalas, 909 F.2d 593, 597-98 (1st Cir.

1990).2

     In Bucuvalas, for example, the First Circuit held that even

where a defendant's sole alleged co-conspirator was acquitted of

conspiracy, the defendant's conviction for participation in the

conspiracy should not be disturbed if there was sufficient evidence

to find the defendant guilty.           See 909 F.2d at 594, 596-97. The

court explained that "the acquittal of all conspirators but one

does not, under Powell, necessarily indicate that the jury found no

agreement to act."      Bucuvalas, 909 F.2d at 596; see also Rogers,


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      In this case, the court does not view Vitale being found
not guilty as logically inconsistent with DiMasi and McDonough
being convicted based in whole or in part on the payments made to
Vitale. "[A]n acquittal can be based on the absence of only one
incident or element . . . ." United States v. DeVincent, 632 F.2d
155, 160 (1st Cir. 1980). The jury could have found, for example,
that DiMasi, McDonough, and Lally conspired or schemed to route
kickbacks to Vitale for DiMasi's ultimate benefit, in exchange
for official acts, but that Vitale participated without
understanding the true nature of the scheme or otherwise lacked
the requisite criminal intent.

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121 F.3d at 16.      Rather, "'[i]t is equally possible that the jury,

convinced of guilt, properly reached its conclusion on one offense,

and then through mistake, compromise, or lenity, arrived at an

inconsistent conclusion on the other offense.'"                Bucuvalas, 909

F.2d at 595 (quoting Powell, 469 U.S. at 65 (brackets omitted)). In

any event, in deciding the Rule 29 motions, the court is not

required to attempt to divine the jury's logic or reasoning in

finding Vitale not guilty. Id. at 597 n.8.

       Consequently, even to the extent that certain theories of

guilt regarding DiMasi and McDonough might arguably be logically

inconsistent with Vitale's acquittal, the only question for Rule 29

purposes is whether the evidence, taken as a whole and considered

with respect to all theories of guilt presented at trial, was

sufficient to support the jury's decision that DiMasi and McDonough

were   guilty   of    particular   charges   --   a   review   that   must   be

undertaken independent of the jury's determination that Vitale had

not been proven guilty. See Powell, 469 U.S. at 67; Bucuvalas, 909

F.2d at 597.         "If the reviewing court finds the evidence was

sufficient to support the verdict against the convicted defendant,

the conviction must stand despite the co-conspirator's acquittal."

Rogers, 121 F.3d at 16.

       B.   Analysis

       As indicated earlier, the government's substantial submissions

reliably state the relevant law and provide a detailed summary of


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the   relevant    evidence.      The    court        is    not    engaging    in   as

comprehensive review of the law or the evidence. It does, however,

note the following to address some of the arguments made by DiMasi

and McDonough.

      As the jury was instructed, it is axiomatic that a conspiracy

can be proven by direct and/or circumstantial evidence. See, e.g.,

United States v. Castro-Davis, 612 F.3d 53, 60 (1st Cir. 2010);

Rivera Calderon, 578 F.3d at 88-89; see also Pattern Criminal Jury

Instructions     for   the   District       Courts    of    the    First     Circuit

§4.18.371(1)     (1997).     Circumstantial      evidence          alone     may   be

sufficient to prove the existence of a conspiratorial agreement and

a defendant's participation in it.           See United States v. Pesaturo,

476 F.3d 60, 72 (1st Cir. 2007); United States v. Perez-Gonzalez,

445 F.3d 39, 49 (1st Cir. 2006); United States v. Medina-Martinez,

396 F.3d 1, 5 (1st Cir. 2005).

      Circumstantial evidence may be particularly important in

determining a defendant's intent. See Anthony v. Sundlun, 952 F.2d

603, 605 (1st Cir. 1991).          As the First Circuit has held, a

"defendant's intent can be inferred from his conduct, seen in the

light of all the surrounding circumstances." United States v.

Sutton, 970 F.2d 1001, 1008 (1st Cir. 1992) (describing United

States v. Cintolo, 818 F.2d 980, 989-91 (1st Cir. 1987)). "[I]t is

an accepted proposition, logically and legally, that subsequent

events may shed light upon, and be relevant in determining, what


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transpired at an earlier time," particularly including whether a

defendant had the legally required criminal intent at an earlier

time. See id. at 1007-08.

     These principles have special relevance in cases in which it

is alleged that public officials have corruptly sold the powers of

their office.   As the Second Circuit has explained:

     [E]vidence of a corrupt agreement in bribery cases is
     usually circumstantial, because bribes are seldom
     accompanied by written contracts, receipts or public
     declarations of intentions. Cf. United States v. Manton,
     107 F.2d 834, 839 (2d Cir. 1939) ("often if not
     generally, direct proof of a criminal conspiracy is not
     available"), cert. denied, 309 U.S. 664 (1940). This is
     especially true in cases involving governmental officials
     or political leaders, whose affairs tend more than most
     to be subjected to public scrutiny. As a result, a jury
     can in such cases infer guilt from evidence of benefits
     received and subsequent favorable treatment, as well as
     from behavior indicating consciousness of guilt.

United States v. Friedman, 854 F.2d 535, 554 (2d Cir. 1988).            Also

recognizing this reality, the First Circuit has found that "the

best evidence of [a public officials'] intent to perform official

acts to favor [the payor's] interests is the evidence of [the

public official's] actions on bills which were important to [the

payor]."   United States v. Woodward, 149 F.3d 46, 60 (1st Cir.

1998) (internal quotation marks and some brackets omitted).

     The relevant law establishes the elements of each offense and,

therefore, provides the framework for determining whether the

evidence was sufficient to prove every essential element beyond a

reasonable doubt.     See Olbres, 61 F.3d at 970.         The basic law


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concerning extortion under color of official right in violation of

§1951 is clearly established. See Evans v. United States, 504 U.S.

255, 268-69 (1992); United States v. Cruz-Arroyo, 461 F.3d 69, 73-4

(1st Cir. 2006); United States v. Rivera Rangel, 396 F.3d 476, 484

(1st Cir. 2005).           As required by that jurisprudence, the court

instructed the jury that the government was required to prove,

among other things, that DiMasi knowingly and willfully obtained

money from Lally and/or Cognos to which DiMasi was not entitled;

that       he   obtained   the   money   for   himself,   or   for   Vitale   or

McDonough;3 that any such payments were made because DiMasi was a


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      "[E]xtortion as defined in [§1951] in no way depends upon
having a direct benefit conferred on the person who obtained the
property." United States v. Green, 350 U.S. 415, 420 (1956).
While Green did not involve extortion under color of official
right, the principle is equally applicable to such cases. See
United States v. Margiotta, 688 F.2d 108, 113-14 (2d Cir. 1982);
United States v. Bradley, 173 F.3d 225, 231 (3d Cir. 1999);
United States v. Vigil, 523 F.3d 1258, 1264 (10th Cir. 2008).

     In contrast, for purposes of honest services fraud the court
instructed the jury in this case that the government was required
to prove that payments to McDonough and/or Vitale were made for
DiMasi's benefit. The government made this distinction in the
proposed jury instructions it filed before trial. However, the
government eventually abandoned this position during discussions
of the final jury instructions, arguing that no benefit to DiMasi
needed to be proven for either extortion or honest services
fraud. The court did not decide, as a matter of law, whether a
benefit to DiMasi was required in order to convict defendants of
honest services fraud. Rather, given the government's
longstanding position and the defendants' claimed reliance on it,
the court instructed the jury in a manner that maintained the
distinction between the two crimes.

     On that basis, because there was insufficient evidence that
the payments to McDonough were for DiMasi's benefit, the court
instructed the jury that they could consider the payments to

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legislator or Speaker of the House of Representatives, in return

for his official acts; and that DiMasi knew that the payments were

made in return for his official acts.

     The law concerning the scope of honest services fraud was

clarified by the Supreme Court in Skilling v. United States, 130 S.

Ct. 2896 (2010), and subsequently by the First Circuit in United

States v. Urciuoli, 613 F.3d 11, 17-18 (1st Cir. 2010) ("Urciuoli

II"). In Skilling, the Supreme Court narrowed the scope of honest

services fraud to payments made in exchange for the performance of

one or more official acts. See 130 S. Ct. at 2932-33. The Supreme

Court held that the honest services fraud statutes "draw[] content"

from federal statutes prohibiting bribery and similar crimes.           Id.

at 2933-34.   In doing so, the Court cited three decisions: United

States v. Ganim, 510 F.3d 134, 147-49 (2d Cir. 2007); United States

v. Whitfield, 590 F.3d 325, 352-53 (5th Cir. 2009); and United

States v. Kemp, 500 F.3d 257, 281-86 (3d Cir. 2007). Skilling, 130

S. Ct. at 2934.

     The Court's reliance on this trilogy of cases makes clear

that, contrary to what defendants sometimes argue, honest services

fraud does not require proof that specific payments were intended




McDonough as a possible basis for the charge of extortion under
color of official right, but not as a basis for finding honest
services fraud.

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to be in exchange for particular official acts.4 In Ganim, the

Second Circuit held that when there is a stream of payments, "'each

payment need not be correlated to a specific official act.'"            510

F.3d at 148 (quoting United States v. Jennings, 160 F.3d 1006, 1014

(4th Cir. 1998)).   Rather, it stated that it would be "'sufficient

if the public official understands that he or she is expected as a

result of the payment to exercise particular kinds of influence –

i.e., on behalf of the payor – as specific opportunities arose.'"

Id. at 145 (quoting United States v. Coyne, 4 F.3d 100, 114 (2d

Cir. 1993)) (emphasis added).

     In Kemp, the Third Circuit held that "the government need not

prove that each gift was provided with the intent to prompt a

specific official act" and that payments may be "made with the

intent to retain the official's services on an 'as needed' basis,

so that whenever the opportunity presents itself the official will

take specific action on the payor's behalf." Kemp, 500 F.3d at 282

(emphasis added).

     In Whitfield, the defendants were judges and the essence of

the alleged honest services fraud scheme involved arranging or

guaranteeing   loans   to   the   judges   in   exchange   for   favorable


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      DiMasi has not been consistent in making this argument. For
example, he concedes in his reply brief that, "[i]t's true that
you don't have to tie specific payments to specific acts – that a
stream of payment for specific acts surfices [sic]." DiMasi's
Mem. in Reply to Gov't's Opp. to DiMasi's Mot. for Post-Verdict
Acquittal on All Counts and, in the Alternative, Mot. for New
Trial at 6 (Docket No. 618).

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decisions in cases. See 590 F.3d at 335. The Fifth Circuit rejected

a claim that an explicit quid pro quo agreement involving specific

official acts identified at the time loans were arranged or

guaranteed was required to prove honest services fraud. Id. at 351-

53.   Rather,    it   held   that   "[t]he   law   only   requires   that   the

Government prove the specific intent to give or receive something

of value in exchange for an official act to be performed sometime

in the future." Id. at 353 (internal quotation marks omitted). In

doing so, the court noted that, "it would have been impossible" for

the defendants to have agreed on what cases the judges would fix at

the time the loans were arranged because one of the cases at issue

had not been filed in one of the judge's court and the other judge

was only then running for election and "was not yet on the bench."

See id. at 353 n.17.

      In Urciuoli II, the First Circuit interpreted Skilling in a

manner that is consistent with Ganim, Kemp, and Whitfield, on facts

comparable to the payments to DiMasi personally in this case.               See

Urciuoli II, 613 F.3d at 13-15.              "The gravamen of the charge

against Urciuoli was his role in a scheme to bribe –- in the guise

of an employment contract –- John Celona, then a Rhode Island state

senator."       Id. at 13.     In affirming the conviction, the First

Circuit wrote that:

           [A] rational jury could find that Urciuoli's purpose
      was for Celona to use his office on behalf of [the
      hospital making the payments] and that Celona did so,
      that the compensation nominally for marketing was in

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     reality for Celona's misuse of his powers, and that the
     result was a conspiracy to deprive Rhode Island's
     citizens of Celona's honest services as a Rhode Island
     senator . . . The inferred conspiracy between Urciuoli
     and Celona was adequately proved.

          Urciuoli's counter arguments are not persuasive.
     That Celona performed some marketing services did not
     prevent the jury from regarding the payments as primarily
     intended by Urciuoli to secure Celona's legislative help.
     Nor does it matter whether Celona expressly agreed to
     help [the hospital] on specific bills, for the jury could
     infer an understanding that he provide [the hospital]
     general support in exchange for money (even if
     occasionally opposing [the hospital]). Urciuoli was free
     to make such arguments to the jury, but the jury could
     fairly reject them.

Id. at 14-15 (citing Kemp, 500 F.3d at 284-85; United States v.

Kincaid-Chauncey, 556 F.3d 923, 943-47 (9th Cir.) cert. denied, 130

S. Ct. 795 (2009)) (footnote omitted) (emphasis added). Therefore,

Urciuoli II also makes clear that honest services fraud does not

require proof that payments were made in exchange for official acts

concerning matters identified when the payments were made and that

an unlawful agreement to commit honest services fraud need not be

express, but can be proven by inference, based on circumstantial

evidence.

     The court's instructions to the jury in this case concerning

honest services fraud closely tracked the language in Skilling,

Urciuoli II, Ganim, Kemp, Whitfield, and Kincaid-Chauncey.              They

required, among other things, proof that payments were made with

the intent to influence an official act and be received with the

intent to be influenced in an official act.        See United States v.


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Sun-Diamond Growers of California, 526 U.S. 398, 404-05 (1999). The

jury   was    also   instructed   that    it    was   not   necessary   for   the

government to prove that the scheme involved making a specific

payment for a specific official act; rather, it would be sufficient

if the government proved beyond a reasonable doubt a scheme to make

a series of payments in exchange for DiMasi performing official

actions benefitting Lally or Cognos as opportunities arose or when

DiMasi was called upon to do so.

       In    addition,   as   requested    by   the   defendants,   the   court

instructed the jury on the purposes for which payments to DiMasi,

Vitale, or McDonough would be lawful. The jury was told that it was

permissible for DiMasi to practice law and to receive payments

genuinely made for referring a client to another lawyer for legal

services. The jury was also informed that it was lawful for Vitale

and McDonough to receive payments for lobbying or for providing

strategic advice to clients seeking public business. Moreover, the

instructions explained the distinction between payments made in

exchange for official acts, which would violate the statutes

prohibiting honest service fraud and extortion, and payments made

only to cultivate a business or political relationship with DiMasi,

which would merely constitute a gratuity and, therefore, would not

be a proper basis for establishing honest services fraud. See Sun-

Diamond, 526 U.S. at 404-05; United States v. Sawyer, 85 F.3d 713,




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720-22 (1st Cir. 1996) ("Sawyer I").5

     In the context of the applicable law as described to the jury,

the evidence, viewed in the light most favorable to the verdict,

was more than sufficient to prove that DiMasi and McDonough were

guilty of the charges on which they were convicted, including

participating in the alleged conspiracy with Lally beginning no

later than December, 2004.       As indicated earlier, the government's

submissions   thoroughly   and    reliably   review   the   most   relevant

evidence.   The court notes only that, viewed most favorably to the

verdict, it includes, but is not limited to, the following.

     In December, 2004 DiMasi's income was diminishing because he

had limited his law practice after being elected Speaker several

months before.    At the same time, he was developing substantial

debts.

     DiMasi's close friend and confidant, McDonough, told Lally in

December, 2004 that he was looking for ways to get money to DiMasi.

He proposed that Lally have Cognos put Topazio on a monthly



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      The court did not give the instructions on the purposes for
which payment would be lawful in the precise form requested by
defendants. However, to the extent that defendants requested
legally correct instructions on issues raised by the evidence,
the court explained the relevant law to the jury in appropriate
terms and the defendants were permitted to argue the issues to
the jury. This was permissible because "so long as the charge
sufficiently conveys the defendant's theory, it need not parrot
the exact language the defendant prefers." United States v.
DeStefano, 59 F.3d 1, 2-3 (1st Cir. 1995) (internal quotation
marks and brackets omitted); see also United States v. Gonzalez,
570 F.3d 16, 21 (1st Cir. 2009).

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"retainer." McDonough explained that Topazio would provide part of

those payments to DiMasi. Although Cognos had no need of Topazio's

legal services and, indeed, never asked Topazio to do any work,

Lally agreed to McDonough's proposal.

      McDonough and Lally met with Topazio in December, 2004. At

that meeting, Lally and McDonough arranged for Cognos to retain

Topazio for $5,000 a month.        Lally testified that he arranged the

payments in order to "funnel money to the Speaker, DiMasi." May 18,

2011 Tr. at 27.6      Lally further testified that he wanted to get

money to DiMasi "in order to gain favor with the Speaker, to have

him help us close software, cut deals, and obtain funding for us."

Id.   The jury could have reasonably construed Lally's testimony as

direct evidence that, from the outset, Lally intended the payments

to Topazio, which he knew would be shared with DiMasi, to be in

exchange for DiMasi's official acts as Speaker on behalf of Cognos.

      In   about   March,   2005,    the   Massachusetts   Department     of

Education   ("DOE")    requested    proposals   for   an   Education     Data

Warehouse ("EDW") pilot program, and for a state-wide expansion of

the pilot. Cognos wanted both the pilot and the much larger state-

wide contracts. If Cognos received a contract, Lally would receive

a commission on payments to Cognos for software.


      6
      Although the trial transcript has not been completed,
excerpts of parts of the testimony have been prepared and are
being filed as part of the record of this case. The final, full
transcripts are likely to have different page numbers for the
quoted statements.

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     Also in March, 2005, Lally caused Cognos to send Topazio a

six-month contract, pursuant to his discussion with Topazio in

December, 2004.    Topazio signed the contract in late March, 2005.

He received the first check from Cognos in early April, 2005.

Cognos   made   these   monthly   payments   to   Topazio   more   or   less

continuously until March, 2007.7 Although the financial arrangement

between Topazio and DiMasi evolved over time, DiMasi initially took

$4,000 out of each payment as a purported "referral fee." This was

substantially more than his usual share.

     In late 2004, and throughout 2005, DiMasi's conduct with

regard to Cognos' interests is consistent with the conclusion that

he knew he had been put on retainer by Cognos to take official

actions as Speaker to advance Cognos' interests when asked to do so

or as the opportunity arose. In December, 2004, DiMasi told Topazio

twice that McDonough was bringing them a "client." He told Topazio

to accept the Cognos monthly payments.       When Cognos sent Topazio a

contract for lobbying rather than for legal services, DiMasi

instructed the reluctant Topazio to sign the agreement.             DiMasi

persuaded Topazio to initially give DiMasi substantially more than



     7
      McDonough argues that Topazio did not pass on payments to
DiMasi between April, 2006, and June, 2006, when DiMasi was
alleged to have taken official action to secure funding for the
EDW. See McDonough's Mot. at 12. However, the period of time
from April, 2006, to August, 2006, was not a gap in payment, but
rather was covered by a single $25,000 check provided by Cognos
to Topazio in December, 2006. As demanded by DiMasi, Topazio gave
DiMasi the entire sum.

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his usual share of the Cognos payments as a purported "referral

fee."     Periodically, including in 2005, Topazio expressed concern

that Cognos was not asking him to perform any work, and DiMasi told

him to just continue taking the money.

        In 2005, Cognos submitted a cost estimate for the larger,

state-wide project with its proposal for the EDW pilot program. The

state-wide    project   would   require   additional   funding   from   the

Legislature before any software or services could be purchased.

Therefore, also in 2005, Lally went to McDonough and told him "we

needed to get to the Speaker and get funding for this project that

DOE wanted."      Id. at 34.      Lally "reminded [McDonough] of our

relationship with Mr. Topazio and that it was time for it to pay

off."     Id. McDonough said he would speak to DiMasi and did so.

        In mid-2005, before the DOE selected a vendor for the pilot

project, Lally wanted DiMasi to speak to the Commissioner, David

Driscoll, on behalf of Cognos. He discussed this with DiMasi and

McDonough, and gave DiMasi some talking points.              Among other

things, the talking points suggested that DiMasi tell Driscoll that

the DOE should not select Cognos' competitor Deloitte because

Deloitte had done poor work for the state trial courts.

        In about October, 2005, Driscoll spoke to DiMasi about getting

legislation to fund an EDW project. DiMasi urged him not to choose

the company that "screwed up the courts." See June 6, 2011 Tr. at

16-18. When Driscoll told DiMasi that Cognos had been selected for


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the EDW project, DiMasi "seemed fine with that and said, "'if we

can help, let us know.'" Id.

       In October or November, 2005, Topazio told DiMasi that the

six-month contract with Cognos had ended.                     DiMasi instructed

Topazio to call McDonough, who arranged a new six-month contract

that    was    retroactive   to    the    date     of   the   first    contract's

expiration.

       When Governor Mitt Romney did not include funding for the EDW

project in his proposed budget in 2006, DiMasi caused it to be

included      in   the   budget   enacted     by    the   Legislature.         More

specifically, in 2006, Dimasi caused his counsel to draft the

legislative language for a budget amendment.              Viewing the request

as coming from the Speaker, another legislator was "honored" to be

asked by DiMasi's counsel to propose that budget amendment to

provide $5,200,000 for the EDW project, including a $4,500,000

earmark for software.        DiMasi's staff then communicated DiMasi's

support for the EDW funding to the House Ways and Means Committee,

whose Chief of Staff kept DiMasi's staff informed of its progress.

When the DOE asked that the software earmark be removed because

spending $4,500,000 of the $5,200,000 for software would not leave

sufficient funding to deploy it, Lally told DiMasi that the earmark

for software should not be reduced because his commission would be

proportionally       diminished.     DiMasi        subsequently       caused   the

$4,500,000 earmark for software to remain in the budget bill.


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     In May, 2006, as the final budget including the EDW amendment

with the $4,500,000 earmark for software, was about to be enacted,

McDonough told Lally that additional payments of $100,000 each

would have to be made to Vitale and McDonough after the EDW deal

closed.   Lally agreed to make the payments because, he testified,

McDonough said "[t]hat's what . . . I needed to do in order to get

the Speaker to get . . . the funding through."       May 18, 2011 Tr. at

57; see also id. at 72 (I paid Vitale $100,000 "[b]ecause I was

told that's what I need to do in order to get the deal and the

funding through the Speaker").

     When the budget was enacted and Lally received his commission,

he made the payments to Vitale and McDonough. McDonough told Lally

that the $100,000 was going to be funneled to DiMasi in the form of

a line of credit from Vitale. After giving Vitale a check for

$100,000, Lally called DiMasi to let him know. DiMasi said, "'All

right.    Thank you.'"   Id. at 75.

     In June, 2006, in anticipation of the $100,000 payment to

Vitale, a company controlled by Vitale extended a $250,000 line of

credit to DiMasi in return for a third mortgage on his home.

DiMasi drew on the line of credit. He did not fully repay the debt

until after the media began reporting on his relationship with

Cognos.

     In June, 2006, while DiMasi was still acting to assure that

$5,200,000 to fund the state-wide EDW project would remain in the


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budget and that the $4,500,000 earmark for software would be

preserved,     DiMasi,   McDonough,   and    Lally   played   golf.     Lally

testified that, on the golf course, DiMasi said to McDonough and

him, "'I am only going to be Speaker for so long, so it is

important that we make as much hay as possible.'"           May 18, 2011 Tr.

at 64.   As they were leaving the golf club, McDonough gave Lally a

"high five" and said: "'How about that.               You got the speaker

telling you something like that.'" Id. at 64-65.

     Soon after, DiMasi, McDonough, and Lally began working to get

Cognos what became a $13,000,000 state contract for Performance

Management software, and a $2,800,000 commission for Lally. DiMasi

met with the Acting Director of the Massachusetts Information

Technology Division to express his interest in acquiring such

software.      DiMasi claimed that he wanted it to be able to track

state spending on his computer, although he did not ever use a

computer.

     In December, 2006, DiMasi demanded that Topazio give him the

full $25,000 Cognos had recently paid to Topazio to cover the

months   for    which    payments   had    been   missed.     After   Topazio

reluctantly sent DiMasi a check for $25,000, DiMasi returned it and

asked instead for four, smaller checks, purportedly written on

different dates. Topazio complied with this request.

     After Deval Patrick took office as Governor in 2007, DiMasi

repeatedly told him, as well as members of his administration, that


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he   wanted    funding    for    Performance   Management   software    in   an

Emergency Bond bill the Governor was seeking. At DiMasi's request,

the administration included a provision for $15,000,000 for such

software      in   that   bill    despite    the   fact   the    Secretary   of

Administration and Finance believed it was premature, at best, to

fund such a purchase because the Administration did not know how it

would use the software.          DiMasi then worked successfully to assure

the prompt passage of the Emergency Bond bill, with $15,000,000 in

it for Performance Management software, described in a way that

promoted Cognos' chance of winning the contract.

      In this same period, Lally asked McDonough how much he would

have to pay Vitale in connection with the Emergency Bond bill.

McDonough referred him to Vitale, who said that Lally should pay

him $500,000.       Lally agreed to pay Vitale $500,000 when Cognos

received the $13,000,000 contract because, he testified, "it was my

understanding of what I needed to do to get the Speaker to fund the

project."      May 18, 2011 Tr. at 97. Vitale told Lally that DiMasi

would get the benefit from the payment when he retired as Speaker

and joined Vitale's newly formed lobbying firm.                 Vitale said he

himself would not "get a dime" of any of Lally's payments to him.

See May 18, 2011 Tr. at 134.

      After the $500,000 payment to Vitale was agreed upon, Lally

wanted to end the payments to Topazio. However, Vitale said, after

consulting the "powers that be," that the payments to Topazio


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should continue.

     After the Emergency Bond bill was enacted, Cognos had to

compete for the Performance Management contract.         DiMasi took the

unusual step of calling the then former Acting Director of the

Information and Technology Division who was recommending the vendor

to be selected and thanked her when she disclosed that she had

chosen Cognos.      After that discussion, DiMasi promptly called

Lally, McDonough, and Vitale.

     Subsequently, DiMasi repeatedly reminded Governor Patrick and

his Secretary of Administration and Finance that the Performance

Management software contract was important to him,        characterizing

it as one of his two top legislative priorities. Once the contract

was signed, however, DiMasi never asked about the software again.

     In   March,    2008,   reporters   from   The   Boston   Globe   began

inquiring about the Cognos software deals.           DiMasi then made a

series of false statements concerning his relationship with Cognos.

For example, he told his press secretary that he did not know Lally

was associated with Cognos and was not aware of any payments from

Cognos to Topazio.     In addition, DiMasi suggested to Topazio that

he lose the part of his checkbook that showed the December, 2006

$25,000 check to DiMasi being replaced with the four checks in

smaller amounts that Dimasi had requested.

     After The Boston Globe called Lally for comment, he and

McDonough met.     McDonough then initiated what became their regular


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practice of frisking each other before talking.          In addition, on

one occasion, DiMasi told McDonough, Vitale and Lally that if one

of them broke – meaning confessed – they all would fall.

     Viewed in the light most favorable to the verdicts, the

foregoing evidence was more than sufficient to convict DiMasi and

McDonough of conspiracy to commit honest services fraud and/or

extortion, and honest services mail and wire fraud.          It was also

ample to convict DiMasi of extortion as well.8


     8
       While the evidence was sufficient to support all of the
convictions, defendants' Rule 29 motion with regard to Count 1
would be unmeritorious if the evidence was sufficient to prove a
conspiracy involving only one of the alleged goals. In Count 1
DiMasi and McDonough were charged with conspiracy to commit three
crimes: honest services mail fraud; honest services wire fraud;
and extortion under color of official right. As the court
instructed the jury, the government was required to prove only
one of the alleged objects of the conspiracy to the unanimous
satisfaction of the jurors. See Griffin v. United States, 502
U.S. 46, 51, 59-60 (1991); United States v. Capozzi, 486 F.3d
711, 717-18 (1st Cir. 2007). Therefore, it would now be enough
for Rule 29 purposes if the evidence were only sufficient to
prove that DiMasi and McDonough were each members of the alleged
conspiracy to commit extortion.

      Similarly, it was alleged that DiMasi caused two forms of
payments to be made in exchange for his official acts as Speaker:
(1) payments to DiMasi himself through Topazio; and (2) payments
to Vitale and McDonough. Over the government's objection, the
court instructed the jury that, in order to convict, they were
required to find unanimously that one form of payment, or the
other, or both were made in exchange for official acts. See
Richardson v. United States, 526 U.S. 813, 824 (1999); cf. United
States v. Lee, 317 F.3d 26, 35-36 (1st Cir. 2003); United States
v. Marino, 277 F.3d 11, 32 (1st Cir. 2002); see also United
States v. Torcasio, 959 F.2d 503, 507-08 (4th Cir. 1992). Once
again, the government was only required to prove the existence of
one of the two alleged forms of corrupt payments. See Griffin,
502 U.S. at 57-60. Griffin is applicable because the issue now
being addressed is the sufficiency of the evidence where there

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     As explained earlier, honest services fraud and extortion

under color of official right involve schemes which both the public

official and the person paying him want to conceal. Such schemes

are often structured to be difficult to discover and to prove if

discovered. Therefore, as noted earlier, circumstantial evidence is

usually particularly important in proving the alleged corruption.

See Friedman, 854 F.2d at 554.              Once again, as the First Circuit

has observed, "the best evidence of [a public official's] intent to

perform official acts to favor [the payor's] interests is the

evidence of [the public official's] actions on bills which were

important to [the payor].            Woodward, 149 F.3d at 60 (internal

quotation    marks      and   some     brackets      omitted).         Evidence      of

consciousness of guilt may also be probative. See Friedman, 854

F.2d at 554.

     In this case, there was both the direct and circumstantial

evidence    described    above    to   demonstrate        a    conspiracy       between

DiMasi,    McDonough,    Lally,      and    Vitale   to       engage   in   a    scheme

involving a series of payments to, and for the benefit of, Dimasi

in exchange for the performance of official acts by DiMasi.                      After



are multiple possible bases of conviction.                See id. at 60.

     The law relating to extortion under color of official right,
which involves payments to a public official, is well-
established. See Evans, 504 U.S. at 268; Cruz-Arroyo, 461 F.3d at
73-74; Rivera Rangel, 396 F.3d at 484. It is unaffected by the
Supreme Court's decision in Skilling, on which the defendants
primarily focus in their motions for acquittal or a new trial.

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Skilling, this is the essence of honest services fraud. See 130 S.

Ct. at 2930-31; see also Urciuoli II, 613 F.3d at 14; Ganim, 510

F.3d at 137-40; Kemp, 500 F.3d at 284-85; Whitfield, 590 F.3d at

336-41.      Payments known by DiMasi to be in exchange for his

official acts, including a stream of payments for unspecified

future official acts, also fully support a conviction for extortion

under color of official right in violation of §1951.            See Ganim,

510 F.3d at 143-47 (approving an instruction that to prove a

violation of §1951 "[i]t is sufficient if the defendant understood

that he was expected as a result of the payment to exercise

particular kinds of influence, that is, on behalf of the payor, as

specific opportunities arose"); Coyne, 4 F.3d at 114 (same);

Bradley, 173 F.3d at 231 (same); Kincaid-Chauncey, 556 F.3d at 937-

38 (same).

     In Skilling, the Supreme Court noted that McNally v. United

States, 483 U.S. 350 (1987), involved payments through a middleman

for the benefit of a public official and characterized it as a

"paradigmatic" and "classic" case of an honest services fraud

scheme. See Skilling, 130 S. Ct. at 2931, 2932. The instant case

fits that paradigm. Other classic schemes have involved middlemen

who were lobbyists. See, e.g., Kincaid-Chauncey, 556 F.3d at 926

(affirming convictions for honest services fraud and extortion).

Lawyers have also served as middlemen. See, e.g., United States v.

Shields,   999   F.2d   1090,   1093-96   (7th   Cir.   1993)   (affirming


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conviction for extortion).        At times, the lawyer intended to serve

as   the   conduit   for   corrupt   payments     has   not   been   a   knowing

participant in the corrupt scheme.            See, e.g., United States v.

Potter, 463 F.3d 9, 16 (1st Cir. 2006). In essence, in this case,

the evidence, viewed in the light most favorable to the verdicts,

was sufficient to prove an unfortunately familiar scheme to funnel

money to DiMasi through a middleman, Topazio, to provide kickbacks

for his benefit to Vitale, and to cause payments that violated

§1951 to be made to McDonough as well, all in exchange for DiMasi's

official acts.9

      Contrary to defendants' contention, the evidence was not

insufficient to prove that DiMasi and McDonough each acted with the

required criminal state of mind.          DiMasi's statement that they had

to "make hay" because he would not be Speaker long, and McDonough's

"high fiving" Lally and saying "how about that" to celebrate

DiMasi's    invitation     to   expand    their   conspiracy   are   only   two

examples of the direct evidence that supports the jury's finding of

their criminal intent.

      This direct evidence is strongly reinforced by the conduct of

DiMasi and McDonough as opportunities arose for DiMasi to use his



      9
      As described in footnote 3, supra, the court found that
there was insufficient evidence to establish that the payments to
McDonough were for DiMasi's benefit. Accordingly, the court
instructed the jury that the payments to McDonough could be
considered for purposes of the extortion charges but not for the
honest services charges.

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official powers to assist Cognos. See Woodward, 149 F.3d at 60;

Friedman, 854 F.2d at 554. While defendants assert that the

temporal link between the Cognos' payments and DiMasi's official

acts is too attenuated to infer the necessary linkage, this is not

true.   In Whitfield, the Third Circuit held that honest services

fraud was proven when the first official act occurred two years

after the first payment.       See 590 F.3d at 339-40. As described

earlier, in the instant case, in March, 2005, Cognos developed the

prospect of getting a state-wide EDW contract which would require

funding by the Legislature. Topazio was then given a contract and

payments to him began the next month. Later in 2005, DiMasi,

McDonough, and Lally discussed the potential EDW contracts and

Lally gave DiMasi "talking points" to use on behalf of Cognos.

Also in 2005, DiMasi used one of the arguments Lally provided in an

effort to influence DOE Commissioner Driscoll to award the EDW

contract to Cognos.       Moreover, DiMasi through his staff and

colleagues in the Legislature worked consistently and successfully

to provide funding for the contracts Cognos wanted and ultimately

received.    When the Cognos contracts became the subject of public

scrutiny, DiMasi lied about his knowledge of them and encouraged

Topazio to lose the check register that contained damaging evidence

of DiMasi's conduct. Therefore, the direct and circumstantial

evidence of criminal intent is stronger in the instant case than in

Whitfield.


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      In essence, the evidence was sufficient for the jury to find

that DiMasi was at all times after December, 2004, ready, willing,

and able to perform official acts, as he had been retained to do,

and   McDonough    was   the    trusted    intermediary    at   the      hub,

orchestrating an effort to insulate the conspirators from being

held accountable for their scheme to exchange the use of DiMasi's

official powers for payments from Cognos and Lally. Therefore,

their motions for judgments of acquittal are not meritorious.



III. THE RULE 33 MOTION FOR A NEW TRIAL

      A.   The Legal Standard

      Under Rule 33(a), a court may grant a new trial "if the

interests of justice so requires." In making this determination, a

court "'may weigh the evidence and evaluate the credibility of

witnesses.'" United States v. Wilkerson, 251 F.3d 273, 278 (1st

Cir. 2001) (quoting United States v. Indelicato, 611 F.2d 376, 387

(1st Cir. 1979)). However, the remedy of a new trial should be

"sparingly used, and then only where there would be a miscarriage

of justice . . . and where the evidence preponderates heavily

against the verdict."       Id. (internal quotation marks omitted).

Where, as here, "'the award of a new trial is predicated on the

district court's evaluation of the weight of the evidence rather

than its concern about the effect of prejudicial acts that may have

resulted in an unfair trial . . . it [must be] quite clear that the


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jury reached a seriously erroneous result.'" Merlino, 592 F.3d at

33 (quoting Rivera Rangel, 396 F.3d at 486). Moreover, "'[i]t is

only where exceptional circumstances can be demonstrated that the

trial judge may intrude upon the jury function of credibility

assessment.'" Id. (quoting United States v. Cote, 544 F.3d 88, 101

(2d Cir. 2008)).

     In contrast to a Rule 29 motion, in deciding a Rule 33 motion,

the court may consider whether its evidentiary rulings at trial

were correct.   See Wilkerson, 251 F.3d at 279-80.        However, a new

trial is justified only if an error concerning the admission of

evidence was made and the error was not "harmless."          Id. at 280.

"An error will be treated as harmless if it is highly probable that

the error did not contribute to the verdict."              Id. (internal

quotation marks omitted).

     B.    Analysis

     The court is not persuaded that it made any error in admitting

evidence or, as defendants also claim, in its instructions to the

jury. Nor does the court find that sustaining the jury's verdicts

concerning DiMasi and McDonough would result in a miscarriage of

justice.   The jury's verdicts concerning DiMasi and McDonough were

consistent with the court's Petrozziello rulings at trial that the

government had proven by a preponderance of the evidence that

DiMasi, McDonough, Lally, and Vitale were members of the conspiracy

charged in this case. Therefore, the court concludes that the


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jury's verdicts of guilty were reasonable rather than seriously

erroneous.

     In §II.B, supra, the court has summarized some of the relevant

evidence in the light most favorable to the guilty verdicts.                For

the purposes of Rule 33 and Petrozziello analyses, the court finds

that those facts, and virtually all of the others described in the

government's   submissions,     have    been   proven   by    the   credible,

admissible evidence.

     Defendants argue, among other things, that Lally was not a

believable witness and, therefore, his testimony could not have

been properly relied upon by the court in making its Petrozziello

rulings or by the jury in deciding whether their guilt was proven.

These contentions are incorrect.

     Lally   testified    for   several   days.   He    was   subjected      to

intensive,   skillful    cross-examination.       Because     Lally   was    an

immunized, cooperating witness with a motive to lie to strengthen

the government's case and thus enhance his hope of getting a

reduced sentence, the jury was instructed to examine his testimony

with care and rely on it with caution. See United States v.

Simonelli, 237 F.3d 19, 29 (1st Cir. 2001); United States v.

Newton, 891 F.2d 944, 949-50 (1st Cir. 1989); see also Pattern

Criminal Jury Instructions for the District Courts of the First

Circuit §2.08 (1997). The court has done the same.

     From both the direct and cross-examination, the court was


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persuaded that Lally had a long history of being an unsavory,

dishonest businessman who would do almost anything to make money.

However, it was also evident that his character and conduct were

well-known to DiMasi and McDonough, who had vacationed with Lally

in Florida and attended his wedding.          In addition, DiMasi had

defended Lally in a criminal case. It was Lally's demonstrated

penchant for dishonesty that prompted McDonough to approach him

when DiMasi and he devised their scheme to sell the powers of

DiMasi's office as Speaker and needed a buyer.

     While Lally's hope of a reduced sentence gave him a motive to

lie, the fact that his immunity agreement provided that he could

still be prosecuted for perjury at trial gave him an incentive to

tell the truth. See Simonelli, 237 F.3d at 29; cf. United States v.

Lara, 181 F.3d 138, 197-98 (1st Cir. 1999).         More significantly,

much of Lally's testimony was corroborated by contemporaneous email

messages and telephone records, as well as by the testimony of

Topazio, Cognos executive Christopher Quinter, Lally's partner

Bruce Major, and other evidence.         In addition, the conduct of

DiMasi, McDonough and Vitale was repeatedly consistent with Lally's

contention that the defendants had conspired with him to exchange

the exercise of DiMasi's official powers as Speaker for payments

from Cognos and Lally. See Woodward, 149 F.3d at 60; Sutton, 970

F.2d at 1008; Cintolo, 818 F.2d at 989-91.         Therefore, this case

is, like Friedman, one in which the testimony of an "unsavory"


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accomplice witness was "corroborated in many important respects."

Friedman, 854 F.2d at 571-72.

       The court found in making its Petrozziello rulings that

Lally's testimony was credible in all material respects.               It would

have been reasonable, rather than seriously wrong, for the jury to

have reached the same conclusion.

       The   court's   Petrozziello     rulings,    however,   did   not     rely

primarily, let alone exclusively, on Lally's testimony. Rather, the

credible      testimony   of    many    witnesses    and    the   substantial

circumstantial     evidence,    again    including    the   evidence    of   the

defendants' own words and deeds, persuaded the court that DiMasi,

McDonough, Lally, and Vitale had participated in the conspiracy

charged in Count 1. Even if Lally's testimony was disbelieved and

given no weight, the credible evidence supported both the court's

Petrozziello rulings and the jury's verdicts.

       In view of the credible evidence, the court did not err in its

Petrozziello rulings in finding that the conspiracy involving

DiMasi,      McDonough, and Lally existed by at least December, 2004.

In making its Petrozziello rulings, the court recognized that to

admit statements under Rule 801(d)(2)(E) the government must prove,

by a preponderance of the evidence, that a conspiracy embracing

both   the    declarant   and   the    defendant    existed,   and   that    the

declarant made the statement during and in furtherance of the

conspiracy. See United States v. Mitchell, 596 F.3d 18, 23 (1st


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Cir. 2010). The court also understood that "while a trial court may

consider the contents of the statement at issue as evidence of the

elements of a Petrozziello determination, the determination must

rest in part on corroborating evidence beyond that contained in the

statement at issue." Id. (internal quotation marks and brackets

omitted).

     In this case the credible evidence proved that, as charged in

Count 1, by at least December, 2004, DiMasi and McDonough had

devised a scheme to solicit payments to DiMasi in exchange for the

use of DiMasi's official powers as Speaker, and to disguise the

existence and purpose of those payments by using Topazio as a

conduit for them. McDonough then recruited a readily responsive

Lally to make the corrupt payments. As recounted earlier, Lally

caused payments to be made by Cognos to Topazio in order to funnel

money to DiMasi with the intention and understanding that DiMasi

would use his power as Speaker to help Cognos get contracts from

the Commonwealth of Massachusetts and, particularly, by causing the

Legislature to provide the funding for those contracts. See May 18,

2011 Tr. at 27.

     DiMasi and McDonough knew that Congos was not hiring Topazio

to do legal or lobbying work. Rather, their own comments and

conduct show that they each understood and agreed that it was

DiMasi as Speaker who had been retained by Congos.

     DiMasi   and   McDonough   also    argue   that   the   evidence   was


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insufficient to prove that they were members of the precise

conspiracy to commit honest services fraud and extortion alleged in

Count 1, particularly in 2005. More specifically, they assert that

the payments made to DiMasi through Topazio prior to November,

2005, when a second six-month contract was executed, were at worst

gratuities and, therefore, any agreement concerning them could not

provide a basis for admitting otherwise hearsay statements under

Rule 801(d)(2)(E).        Once again, this contention is incorrect.

      For Petrozziello, as well as other purposes, a defendant's

later conduct can provide evidence of his criminal intent. See

United States v. Panas, 738 F.2d 278, 283 (8th Cir. 1984); United

States v. Everidge, 488 F.2d 1, 3 (9th Cir. 1973). "'The fact that

some of th[e] evidence post-dated the statements in question is of

no consequence, so long as its natural tendency, when introduced,

was to show the concert of action to have been existing at the time

of the statement.'" Panas, 738 F.2d at 283 (quoting Everidge, 488

F.2d at 3); cf. Sutton, 970 F.2d at 1008; Cintolo, 818 F.2d at 989-

91.

      In   this   case,    the   court    finds   that   when   Cognos   became

interested in getting the state-wide EDW contract in 2005, Lally

told McDonough that it was time for the relationship with Topazio

to pay off and that he wanted to get to the Speaker to provide

funding for the project. McDonough did not question Lally or balk

at his request.      Rather, in 2005, Lally and McDonough met with


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DiMasi to discuss Lally's interests, Lally gave DiMasi "talking

points" to use in promoting Cognos to the Commissioner of the DOE,

Driscoll, and DiMasi did so. In addition, the subsequent repeated

and successful efforts by Dimasi to work, through his staff and

colleagues in the Legislature, to get the required funding included

in the budget bill indicates that DiMasi understood that the time

had come to render the services as Speaker for which he had been

retained. See Woodward, 149 F.3d at 60; Friedman, 854 F.2d at 554.

DiMasi's later efforts to cover up his conduct supports this

conclusion. See Friedman, 854 F.2d at 554.

     Although not essential to the court's Petrozziello rulings,

after particularly careful consideration, the court finds that, in

2006, DiMasi did tell Lally and McDonough that he would only be

Speaker for a limited time and that they should "make hay" while

they could.   Lally's testimony was corroborated by proof that soon

after this alleged statement DiMasi was secretly preparing to leave

the Legislature and join Vitale's lobbying firm. DiMasi's statement

about "making hay" provides direct evidence of DiMasi's criminal

state of mind.     The court also finds that soon after DiMasi's

statement McDonough gave Lally a "high five" to celebrate it.

This, and McDonough's related comment, is direct evidence of his

criminal state of mind.

     Although Vitale was found not guilty of the conspiracy and

other charges against him, the court remains persuaded that he


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joined the conspiracy in about May, 2006, when McDonough and Lally

met with Vitale at Vitale's office. As indicated earlier, differing

conclusions of the court and the jury may reflect the fact that

Petrozziello rulings must be supported by only a preponderance of

the evidence, but proof beyond a reasonable doubt is required to

convict. See Bourjaily v. United States, 483 U.S. 171, 175 (1987);

Mitchell, 596 F.3d at 23. It is also possible that the jury decided

to   be   lenient   with   Vitale.   See   Powell,   469   U.S.   at   65-66;

Bucuvalas, 909 F.2d at 597 & n.8. In any event, the court has a

duty to make its Petrozziello rulings independently and continues

to find that Vitale joined the conspiracy charged in Count 1.

Therefore, his statements in furtherance of it –- including his

statement to Lally that the payments to Vitale were all for

DiMasi's benefit –- were properly admitted and considered by the

jury.

        In summary, further consideration has confirmed the conclusion

the court reached at trial that, for Petrozziello purposes, DiMasi,

McDonough, and Lally were, from at least December, 2004, engaged in

a conspiracy to commit extortion, honest services mail fraud, and

honest services wire fraud, and that Vitale joined that conspiracy

later. Each conspirator made statements that were intended to

achieve the goals of the conspiracy. Evidence of those statements

was properly admitted against DiMasi and McDonough under Rule

801(d)(2)(E).


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      As indicated earlier, the court's required Petrozziello ruling

is consistent with the jury's conclusion that DiMasi and McDonough

had been proven guilty of certain charges beyond a reasonable

doubt. Therefore, this is not the rare case in which the court

should, or properly could, grant a new trial because the guilty

verdicts were seriously erroneous. Accordingly, the defendants'

Rule 33 motions are being denied.



IV.   ORDER

      In view of the foregoing, the motions of DiMasi and McDonough

for judgment of acquittal or, alternatively, for a new trial

(Docket Nos. 609 and 610) are hereby DENIED.




                                              /s/ Mark L. Wolf
                                         UNITED STATES DISTRICT JUDGE




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